The Honorable Matt Blunt Missouri Secretary of State James C. Kirkpatrick State Information Center 600 West Main Street P.O. Box 1767 Jefferson City, MO 65102
Dear Secretary Blunt:
This opinion letter is in response to your request for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition regarding a proposed constitutional amendment by Steven Reed relating to Technology Parks.  A copy of the initiative petition that you submitted to this office on January 17, 2001, is attached for reference.
We conclude that the petition form must be rejected for the following reasons:
    The petition refers to the previous Secretary of State, Rebecca McDowell Cook, as the person to whom the petition is addressed;
    The petition refers to the next general election date as November 7, 2002, when the next general election is November 5, 2002; and
    The petition includes a proposed official ballot title which is the responsibility of the Secretary of State to prepare under the provisions of Section 116.334, RSMo 1999 Supp.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist.  Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
                                   JEREMIAH W. (JAY) NIXON Attorney General
Enclosure